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 5
 6 Attorneys for Plaintiff
   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                              CASE NO. 2:17-CR-204-MCE
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           ORDER
14 JIMMY LEE RIDER,                                       DATE: March 22, 2018
                                                          TIME: 10:00 a.m.
15                                 Defendant.             COURT: Hon. Morrison C. England, Jr.
16
17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on March 22, 2018.

21          2.       By this stipulation, defendant now moves to continue the status conference until March

22 29, 2018, and to exclude time between March 22, 2018, and March 29, 2018, under Local Code T4.
23          3.       The parties agree and stipulate, and request that the Court find the following:

24                   a)     The government has represented that the discovery associated with this case

25          includes body camera footage, reports, and photographs. All of this discovery has been either

26          produced directly to counsel and/or made available for inspection.

27                   b)     Counsel for defendant desires additional time to review this discovery, conduct

28          investigation, discuss possible resolutions with his client, and otherwise prepare for trial

      STIPULATION REGARDING EXCLUDABLE TIME               1
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 1               c)      Counsel for defendant believes that failure to grant the above-requested

 2        continuance would deny him the reasonable time necessary for effective preparation, taking into

 3        account the exercise of due diligence.

 4               d)      The government does not object to the continuance.

 5               e)      Based on the above-stated findings, the ends of justice served by continuing the

 6        case as requested outweigh the interest of the public and the defendant in a trial within the

 7        original date prescribed by the Speedy Trial Act.

 8               f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9        et seq., within which trial must commence, the time period of March 22, 2018 to March 29,

10        2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

11        T4] because it results from a continuance granted by the Court at defendant’s request on the basis

12        of the Court’s finding that the ends of justice served by taking such action outweigh the best

13        interest of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME              2
30   PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.
                                                               MCGREGOR W. SCOTT
 5   Dated: March 20, 2018                                     United States Attorney
 6                                                             /s/ CAMERON L. DESMOND
                                                               CAMERON L. DESMOND
 7                                                             Assistant United States Attorney
 8   Dated: March 20, 2018                                     /s/ MATTHEW BOCKMON
                                                               MATTHEW BOCKMON
 9
                                                               Counsel for Defendant
10                                                             JIMMY LEE RIDER

11                                                     ORDER

12          IT IS SO ORDERED.

13 Dated: March 26, 2018
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      STIPULATION REGARDING EXCLUDABLE TIME                3
30    PERIODS UNDER SPEEDY TRIAL ACT
